
The Disciplinary Review Board having filed with the Court its decision in DRB 18-085, concluding on the record certified to the Board pursuant to Rule 1:20-4(f)(default by respondent), that Christopher D. Boyman of Kenilworth, who was admitted to the bar of this State in 1987, and who has been temporarily suspended from the practice of law since February 6, 2012, should be suspended from the practice of law for a period of three years for violating RPC 5.5(a) and Rule 1:20-20(b)(1)(practicing law while suspended), RPC 8.1(b) (failing to cooperate in an ethics investigation), and RPC 8.4(c) (conduct involving dishonesty, fraud, deceit or misrepresentation;
And good cause appearing;
It is ORDERED that Christopher D. Boyman is suspended from the practice of law for a period of three years and until the **99further Order of the Court, effective January 4, 2019; and it is further
ORDERED that respondent comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that pursuant to Rule 1:20-20(c), respondent's failure to comply with the Affidavit of Compliance requirement of Rule 1:20-20(b)(15) may (1) preclude the Disciplinary Review Board from considering respondent's petition for reinstatement for a period of up to six months from the date respondent files proof of compliance; (2) be found to constitute a violation of RPC 8.1(b) and RPC 8.4(d) ; and (3) provide a basis for an action for contempt pursuant to Rule 1:10-2; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
